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 4
     Attorney for Defendant
 5   ADOLFO ALVAREZ VALENCIA
 6
 7
                                       UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                   ) Case No. 2:09-CR-358-03 WBS
                                                                 )
11                                                               ) STIPULATION AND [PROPOSED]
                    Plaintiff,                                   ) ORDER TO CONTINUE
12                                                               ) JUDGMENT & SENTENCING
            vs.                                                  )
13                                                               )
     ADOLFO ALVAREZ VALENCIA,                                    )
14                                                               )
                    Defendant.                                   )
15
16           IT IS HERBY STIPULATED by and between Assistant United States Attorney Olusere
17   Olowoyeye, Counsel for Plaintiff, and Attorney Ruben Munoz, Counsel for Defendant ADOLFO
18   ALVAREZ VALENCIA, and United States Probation Officer, Paul Mamaril, that the Judgment
19   and Sentencing date hearing in this case be continued form August 26, 2013 at 9:30 a.m. to
20   September 16, 2013 at 9:30 a.m. The parties further stipulate that disclosure and filing schedule in
21   this case be modified according to the Judgment and Sentencing date. The continuance is
22   requested by defense counsel.
23          The parties stipulate that the ends of justice are served by the Court excluding such time,
24   so that counsel for the defendant may have reasonable time necessary for effective preparation,
25   and taking into account the exercise of due diligence. The parties stipulate and agree that the
26   interest of justice served by granting this continuance outweigh the best interest of the public and
27   the defendant in a speedy trial. 18 USC 3161(h)(7)(A) & (B) (iv), Local code T-4 (time to
28   prepare).

                                 STIPULATION AND [PROPOSED] ORDER TO CONTINUE JUDGMENT AND SENTENCING




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 1          The Parties further request that the Judgment & Sentencing hearing be taken off the
 2   August 26, 2013 calendar before Judge William B. Schubb and be rescheduled for September 16,
 3   2013 at 9:30 am before Judge Shubb.
 4          The Court is advise that all counsel and the probation officer have conferred about this
 5   request, that they have agreed to the September 16, 2013 date, and that they have authorized Mr.
 6   Munoz to sign this stipulation on their behalf.
 7          IT IS SO STIPULATED.
 8
 9   DATED: AUGUST 15, 2013
10
                                                                    Respectfully Submitted,
11
12                                                                  Ruben T. Munoz

13
14
     Date: August 15, 2013                                          /s/ Ruben Munoz
15                                                                  RUBEN T. MUNOZ
                                                                    Attorney for Defendant Adolfo Valencia Alvarez
16
17   Date: August 15, 2013                                          /s/ Olusere Olowoyeye
18                                                                  Olusere Olowoyeye
                                                                    Assistant United States Attorney
19
20   Date: August 15, 2013                                          /s/ Paul Mamaril
                                                                    Paul Mamaril
21                                                                  United States Probation Officer

22
                                                         ORDER
23
            IT IS SO ORDERED.
24
                            By the Court,
25
     Dated: August 15, 2013
26
27
28

                              STIPULATION AND [PROPOSED] ORDER TO CONTINUE JUDGMENT AND SENTENCING




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